Case sor-ov.cu04 LJO-GSA Document 324 Filed 03/10/10 Page 1

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IN THE UNITED STATES DISTRICT COURT
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FOR THE EASTERN DISTRICT OF CALIFORNIA |!
ROGER McINTOSH, CASE NO. CV F 07-1080 LJO GSA
Plaintiff,

- ILED
NORTHERN CALIFORNIA MAR 7-90
UNIVERSAL ENTERPRISES, AR £0 2010
INC., LOTUS DEVELOPMENTS, EASHERM: US DISTRICT Count
LP, THE CITY OF WASCO, AND ay OF CALIFORNIA
DENNIS W. DeWALT, INC., DEPETY CLERK

Defendants.

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NOTE FROM THE JURY

The jury has reached a unanimous verdict.

_____ The jury requests the following :

PX__The jury has the following question(s):
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DATED: March 2010 C 3 ib AV yer Oar

(PRESIDING JUROR™
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